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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 CODE-TO-LEARN FOUNDATION D/B/A
 SCRATCH FOUNDATION,

                    Plaintiff,                        Civil Action No. 1:19-cv-67-LO-MSN

       v.

 SCRATCH.ORG, an Internet domain name,

                    Defendant.


                                             ORDER

       This matter comes before the Court on Plaintiff’s Second Motion to Compel (Dkt. No.

53). Having reviewed the motion, and for the reasons stated from the bench, it is hereby

       ORDERED that the Motion is GRANTED in part. The list of domain names and related

information shall be de-designated. The Court finds that the information does not warrant

designation as either Attorneys’ Eyes Only or Confidential under the Protective Order. It is

further ORDERED that the Defendant shall provide complete discovery responses as set forth in

open court by Wednesday, October 9, at 12:00 p.m., including a comprehensive list of domain

names presently and previously owned by Defendant; disclosure of all revenue derived

therefrom, including from the sale of domain names and from advertisement revenue; and dates

Defendant owned each domain name. Defendant shall also provide all requested underlying

information, whether public or private, that Defendant received pertaining to allegations of

trademark abuse against Defendant. To the extent Defendant has discarded, destroyed, or lost

any information related to past allegations of trademark abuse, he must affirmatively so state.

Both defense counsel and Defendant shall sign the discovery responses certifying that they are

true and accurate. Defendant is hereby placed on notice that failure to comply with this Order
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may result in sanctions, including but not limited to, a finding of bad faith with regard to the

underlying claim in this case.




                                                                           /s/
                                                      Michael S. Nachmanoff
October 3, 2019                                       United States Magistrate Judge
Alexandria, Virginia




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